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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

CORNELIO GARCIA AND                                  §
GRISELDA GARCIA,                                     §
Plaintiffs,                                          §
                                                     §
v.                                                   § CIVIL ACTION NO. 5:16-cv-1311
                                                     §      JURY DEMANDED
STARSTONE NATIONAL                                   §
INSURANCE COMPANY AND                                §
MILES RYAN MCCREADY,                                 §
Defendants.                                          §

                 AGREED STIPULATION OF DISMISSAL FOR PLAINTIFFS

      Plaintiffs Cornelio Garcia, Griselda Garcia, Defendants Starstone National Insurance
Company and Miles Ryan McCready file this stipulation of dismissal under Federal Rule of Civil
Procedure 41(a)(1)(A)(ii).

       1. Plaintiffs are Cornelio Garcia and Griselda Garcia, Defendants are Starstone National
     Insurance Company and Miles Ryan McCready.

    2. On November 11, 2016, Plaintiffs sued Defendants in the 438th Judicial District, Bexar
 County, Texas, Cause No. 2016CI19682. On December 22, 2016, Starstone National
 Insurance Company filed its Original Answer. On December 28, 2016 Miles Ryan McCready
 filed his Original Answer. On December 29, 2016, Starstone National Insurance Company
 filed its Notice of Removal.

    3. On or about January 19, 2017, the parties settled this case. As a result of this settlement,
 all issues in the above-styled and numbered litigation have been fully and finally settled.
 Plaintiffs now move to dismiss the suit against Defendants.

       4. Defendants agree to the dismissal.

       5. This case is not a class action under Federal Rule of Civil Procedure 23, a derivative
     action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

       6. A receiver has not been appointed in this case.

        7. This case is not governed by any federal statute that requires a court order for dismissal
     of the case.

       8. Plaintiffs have not previously dismissed any federal- or state-court suit based on or
     including the same claims as those presented in this case.

       9. This dismissal is with prejudice.

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                                     Respectfully submitted

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                                     STARSTONE NATIONAL
                                     INSURANCE COMPANY AND MILES
                                     RYAN MCCREADY


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                                     COUNSEL FOR PLAINTIFFS,
                                     CORNELIO GARCIA AND GRISELDA
                                     GARCIA
                                     *Signed with permission
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                                CERTIFICATE OF SERVICE

       I certify that on May 4, 2017, a copy of the parties’ Agreed Stipulation of Dismissal was
 electronically filed on the CM/ECF system, and will be served on the following attorney in
 charge for Plaintiffs, Cornelio Garcia and Griselda Garcia, via electronic filing or regular mail:

Cristobal M. Galindo
Cristobal M. Galindo P.C.
Email: StormCase@galindolaw.com

VIA E-FILING

                                                     /s/Mikell A. West
                                                     Mikell A. West




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